
In re Tyronne, Gordon; — Defendants); applying for supervisory, remedial, certiorari, prohibition and mandamus writs; Parish of St. Mary, 16th Judicial District Court, Div. “G”, No. 131,270; to the Court of Appeal, First Circuit, No. KW91 1250.
Granted. The trial judge is ordered to conduct an in camera inspection of the sealed investigative report to determine whether it contains any material which is excepted from disclosure by R.S. 44:3(A). If it does contain any such material, that material should be excluded and the remainder of the information should be provided to defendant. If it does not contain any such material, the entire investigative report is to be made available to defendant.
MARCUS, J., dissents.
